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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,

                          Plaintiff,


 vs.                                                             Case No.10-10136-EFM

 ERNESTO HERNANDEZ-LIZARDI and
 RAUL MANZANAREZ-Rivera,


                           Defendants.



                                   MEMORANDUM AND ORDER

       Defendant Ernesto Hernandez-Lizardi has been indicted on one count of illegal alien in

possession of ammunition and one count of illegal alien in possession of a firearm. Defendant

Lizardi filed a motion to have the evidence against him suppressed, which the Court denied in an

order issued on January 19, 2011. Presently before the Court is Defendant Lizardi’s motion for

reconsideration of the January 19 order or/in the alternative, supplemental motion to suppress

evidence (Doc. 49). For the reasons stated below, the Court denies Defendant’s motion.

       Because motions to reconsider in the criminal context are rare and not explicitly provided

for in the Federal Rules of Criminal Procedure, this Court applies the same standard that is used for

evaluating a motion to reconsider in the civil context to such motions.1 Under this standard, a

motion seeking reconsideration “shall be based on (1) an intervening change in controlling law, (2)




       1
        See, e.g., United States v. Lawson, 2008 WL 3850486, at * 1 (D. Kan. Aug. 15, 2008) (collecting cases).
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the availability of new evidence, or (3) the need to correct clear error or prevent manifest injustice.”2

Whether to grant a motion for reconsideration is within the Court’s discretion.3

        In his brief, Defendant Lizardi does not point to an intervening change in the controlling law

or the discovery of new evidence. Therefore, Defendant’s motion, to the extent it seeks to have this

Court reconsider its earlier order, must be based on the need to correct clear error or prevent

manifest injustice. After reviewing Defendant’s motion, the Court does not find that either of the

aforementioned bases for reconsideration are present in the current case. Therefore, the Court denies

Defendant’s motion to the extent it asks this Court to reconsider its January 19 order.

        The Court also denies Defendant’s motion to the extent it seeks to have the evidence against

him suppressed based on the “supplemental” arguments and authorities set forth in his motion.

While it is true that Defendant’s current motion explicitly raises arguments that Defendant failed to

initially and contains citations to cases that were not included in his first motion, this fact does not

alter the Court’s rulings contained in its January 19 order. In that order, the Court addressed each

of the arguments and cases on which Defendant now relies. As a consequence, Defendant’s most

recent motion provides no new reason for why the evidence against him should be suppressed, and,

thus, the Court denies Defendant’s motion to the extent it seeks suppression based on

“supplemental” arguments and authorities.

        IT IS ACCORDINGLY ORDERED that Defendant Lizardi’s motion to reconsider the

Court’s January 19, 2011, order is hereby DENIED.




        2
         D. Kan. Rule 7.3(b).
         3
           Nat’l Labor Relations Bd. v. Midwest Heating & Air Conditioning, Inc., 2008 WL 4330022, at * 1 (D. Kan.
Sept. 16, 2008).

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IT IS SO ORDERED.

Dated this 23rd day of February, 2011.




                                               ERIC F. MELGREN
                                               UNITED STATES DISTRICT JUDGE




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